Case 2:04-CV-03033-SHI\/|-tmp Document 14 Filed 06/09/05 Page 1 of 2 Page|D 27

 

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IN THE uNITED sTATEs DISTRICT coURT ~. D.c.
FoR THE wEsTERN DISTRICT oF TENNESSEE 95 JU,__¥,__
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w.s, 131 3 ’"~'J-C
KEENA wELLS, et al.,

Plaintiffs,
VB.

Civ. No. 04-3033-Ma[P

BARLOWORLD TRUCK CENTER, INC.,
a/k/a BARLOWORLD FREIGHTLINER,
INC.,

Defendant.

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ORDER DENYING AS MOOT PLAINTIFF'S MOTION
TO CONTINUE SCHEDULING CONFERENCE

 

Presently before the court is plaintiff's Motion to Cohtinue
Scheduling Conference, filed on April 22, 2005 (Dkt. #3). On May
19, 2005, defendant’s submitted a proposed Rule 16(b) scheduling
order, which was approved by the court. On that basis, the motion
is DENIED as MOOT.

IT IS SO ORDERED.

 

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TU M. PHAM`
United States Magistrate Judge

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Date

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
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Honorable Samuel Mays
US DISTRICT COURT

